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                                                                              Juli Luke
                                                                              Denton County,
                                                                                      County, County Clerk
                                                                              By:
                                                                              By: Alexa Hagenbucher,
                                                                                        Hagenbucher, Deputy


                                          CV-2017-02365
                               CAUSE NO. ____________________

JASON LEE VAN DYKE                                  §§     IN THE COUNTY COURT
     Plaintiff,                                     §§
                                                    §§
v.
V.                                                  §§     AT LAW NO. 22
                                                    §§
MOCKINGBIRD PUBLISHING CO. and                      §§
GERARD BELLO II                                     §§
    Defendants.                                     §§     DENTON COUNTY, TEXAS

                          PLAINTIFF ’8 ORIGINAL PETITION
                          PLAINTIFF’S

                          I.       DISCOVERY CONTROL PLAN

1.1
1.1   Discovery in this case
                        case is intended to be conducted under level 2 of rule 190
                                                                               190 of the Texas

      Rules of Civil Procedure. Plaintiff seeks
                                          seeks damages in the amount of $100,000.00 or less
                                                                                        less

      including damages of any
                           any kind, costs,
                                     costs, expenses,
                                            expenses, pre-judgment interest, and attorney fees.
                                                                                          fees.




                                      II.     PARTIES

2.1
2.1   Plaintiff is Jason Lee Van Dyke Whose
                                      whose address
                                            address is
                                                    is 108
                                                       108 Durango Drive, Crossroads, TX

      76227.

2.2   Defendant, Mockingbird Publishing Co. (“Mockingbird”),
                                            (“Mockingbird”), an
                                                             an Ohio Corporation may
                                                                                 may be

      served with
             With process by
                          by and through its registered agent, Robert Ebright, at 2346 Howey

      Road,
      Road, Columbus, OH 43211.
                         43211.

2.3   Defendant, Gerard Bello II (“Bello”),
                                 (“B6110”), an
                                            an individual, may
                                                           may be served With
                                                                         with process
                                                                              process at
                                                                                      at 675

      Riverview Drive, Apt. B4, Columbus, OH 43202.
                                             43202.

2.4   Subject matter jurisdiction is appropriate because
                                                 because Plaintiff seeks
                                                                   seeks recovery of monetary

      damages within
              Within the jurisdictional limits of this Court.

2.5   Personal jurisdiction is
                            is appropriate as
                                           as to the Defendants pursuant to the Texas Long Arm


      Statute because
              because Defendants have committed aa tort, in whole or in part, in this state.
                                                                                      state. Tex.



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      Civ.
      CiV. Prac. & Rem. Code §
                             § 17.042.
                               17.042. Specifically, Bello claims to be aa journalist and is
                                                                                          is one

                                         ,
      of the principals of Mockingbird – an Internet website that can be
                                                                      be accessed throughout

      the United States. This lawsuit stems from aa situation in which Bello published false and

      defamatory statements about members of the Houston chapter of aa men’s fraternal

      organization known as
                         as “The Proud Boys”. See
                                              See infra ¶ 3.3. Plaintiff is an attorney that
                                                             11




      wrote aa demand letter to Defendants on behalf of the members of this chapter and others.

      Rather than cease
                  cease and desist in their publication of false and defamatory statements,

      Defendants published an article attacking Plaintiff specifically.
                                                          speciﬁcally. It is for the libel per se
                                                                                               se


      contained in that article that Plaintiff now sues.
                                                   sues.


2.6   Venue is appropriate in this court pursuant to Tex. Civ.
                                                          CiV. Prac. & Rem. Code §
                                                                                 § 15.017.
                                                                                   15.017.

                                         III.    FACTS

3.1
3.1   Plaintiff is an attorney licensed to practice law in this state as
                                                                      as well as
                                                                              as Colorado, Georgia,


      and the District of Columbia. Plaintiff’s practice includes the representation of fraternal

      organizations of which Plaintiff is
                                       is aa member. Plaintiff has,
                                                               has, for example, represented the

      Delta Phi Chapter of Theta Chi Fraternity Alumni/Housing Corporation in the past.
                                                                                  past.

      Plaintiff is also aa member of aa pro-western men’s fraternal organization known as
                                                                                       as “The


      Proud Boys” and has
                      has assisted individual members of this fraternity in a
                                                                            a variety of legal


      matters.

3.2   This lawsuit stems from aa demand letter that was
                                                    was sent by
                                                             by Plaintiff to Defendants on or

      around September 5,
                       5, 2017. A true and correct copy
                                                   copy of the demand letter is
                                                                             is attached

      hereto as         “A” and incorporated by
             as Exhibit “A”                  by reference herein.

3.3   On information and belief, Defendants are associated with aa domestic terrorist collective

      known as
            as “Antifa” that prides itself on harassing, defaming, and committing acts of




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      violence
      Violence against persons
                       persons and groups that espouse
                                               espouse conservative groups. In this instance,

      Defendants wrongfully accused members of the Houston, Texas and Columbus, Ohio

      chapters of “The Proud Boys” of the following: (a)
                                                     (a) being “neo-Nazis”; (b)
                                                                            (b) engaging in aa

      hate crime by
                 by placing hand-drawn swastikas into mailboxes;
                                                      mailboxes; (c)
                                                                 (c) engaging in “ethnic

      cleansing” during hurricane relief efforts in the Houston area;
                                                                area; and (d)
                                                                          (d) roaming the nation

      in an effort to commit acts
                             acts of mass
                                     mass murder against minorities. It should be
                                                                               be noted in this

      case
      case that Plaintiff was
                          was present with the Houston Proud Boys during Hurricane Harvey

      relief efforts and assisted them in rescuing residents in need of evacuation and in the

      distribution of relief supplies such as
                                           as food, bottled water, cleaning supplies, and other


      items to residents of areas
                            areas affected by
                                           by the hurricane.
                                                  hurricane.

3.4   Plaintiff sent aa demand letter for Defendants to issue aa retraction of these statements

      (which clearly meet the criteria for defamation per
                                                      per se)
                                                          se) and Defendants responded by
                                                                                       by

      publishing the letter attached hereto as         “B” on their website.
                                            as Exhibit “B”


                                  (( Count One: Libel Per Se)
                                                          Se )

3.5
3.5   Defendant published the following defamatory statements of fact concerning Plaintiff:

      (a)
      (a)    Plaintiff is aa white
                             White nationalist, aa nazi, and/or aa neo-nazi;

      (b)
      (b)    Plaintiff was convicted of weapons charges and domestic Violence;
                                                                     violence;

      (c)
      (0)    Plaintiff is prohibited under federal law from possessing firearms
                                                                       ﬁrearms and is currently

             in Violation
                violation of federal law for possessing firearms;
                                                        ﬁrearms; and

      (d)
      (d)    Plaintiff has
                       has committed professional misconduct through the unauthorized

             practice of law or through unlawful “forum shopping”.



3.6   The statements published by
                               by Defendant are false. Specifically:
                                                       Speciﬁcally:



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     (a)
     (a)   Plaintiff is
                     is not now, nor has
                                     has he ever been,
                                                 been, aa White
                                                          white nationalist, aa nazi, aa neo-nazi,

           or aa member of any
                           any organization affiliated
                                            afﬁliated with “national socialism” in any
                                                                                   any way.
                                                                                       way.

           These accusations by
                             by Defendants clearly “injure aa living person’s reputation and

           thus expose the person to public hatred, contempt, or ridicule, or financial
                                                                              ﬁnancial injury”

           and “impeach aa person’s honesty, integrity, Virtue,
                                                        virtue, or reputation.” Tex. Civ.
                                                                                     CiV. Prac.

           & Rem. Code §§ 73.001.

     (b)
     (b)   Plaintiff has
                     has never been convicted of domestic Violence.
                                                          violence. Plaintiff was convicted

           of aa misdemeanor firearm charge while
                                            While living in the State of Michigan in 2000.

           That conviction was legally set
                                       set aside and expunged by
                                                              by aa court order on or around

           September 28,
                     28, 2006. Plaintiff has not since been convicted of any
                                                                         any crime other

                      “C” misdemeanor traffic
           than Class “C”                     violations. Defendants’
                                      trafﬁc Violations.  Defendants’ statements to the

           contrary falsely charge Plaintiff with the commission of aa crime and constitute

           libel per se.
                     se. Leyendecker & Assocs.
                                       Assocs. v.
                                               v. Wechter,
                                                  Wechter, 683 S.W.2d 369,
                                                                      369, 374 (Tex.

           1984).
           1 984).




     (d)
     (d)   Plaintiff is not prohibited under federal law from possessing firearms,
                                                                         ﬁrearms, and thus,

           his possession of firearms
                             ﬁrearms is
                                      is not contrary to federal law. In fact, Plaintiff has
                                                                                         has a
                                                                                             a


           license to carry issued by
                                   by the State of Texas and is
                                                             is authorized by
                                                                           by the Texas

           Department of Public Safety to teach the Texas license to carry class.

           Defendants’
           Defendants’ statements impute the commission of aa federal felony to Plaintiff and

           constitute libel per se.
                                56. Id.


     (e)
     (6)   Plaintiff is
                     is not engaged in the unauthorized practice of law in Ohio or any
                                                                                   any other

           state.
           state. He has
                     has not engaged in forum shopping or committed any
                                                                    any other act with

           respect to Defendants which constitutes the unauthorized practice of law.



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             Plaintiff is
                       is licensed to practice law in Texas,
                                                      Texas, Colorado, Georgia, and the District

             of Columbia. He is
                             is licensed to practice in numerous federal courts including the

             U.S.
             US. District Court for the Northern District of Ohio.
                                                             Ohio. Accordingly, Defendants’

             statements have caused injury to Plaintiff in his office, profession, or occupation

             as
             as an attorney and constitute libel per se.
                                                     se. Hancock v.
                                                                 v. Variyam,
                                                                    Variyam, 400 S.W.3d 59,
                                                                                        59, 64

             (Tex. 2013).

3.7   It should also be
                     be noted that the published letter contains several other false and

      defamatory statements.
                 statements. For example, it states that Plaintiff is aa member of the Council

      for Conservative Citizens. Plaintiff is not now, and has
                                                           has never been,
                                                                     been, aa member of this

      organization.
      organization. Furthermore, it states that Plaintiff has an account on aa popular White
                                                                                       white

      supremacist website known as
                                as “Stormfront”. While this statement is
                                                                      is also false and

      defamatory, Plaintiff has
                            has chosen to limit this lawsuit to his claims for libel per se.
                                                                                         se. These

      two accusations do not meet the statutory definition
                                                deﬁnition of libel. They are,
                                                                         are, however, relevant

      to demonstrating that Defendants have acted with negligence at
                                                                  at the very least,
                                                                              least, if not

      actual malice.

3.8   This is
           is a
              a claim for defamation per se
                                         56 against a
                                                    a media defendant over a
                                                                           a matter of private


      concern. Accordingly, Plaintiff’s
                            Plaintiff’ s damages are
                                                 are presumed.

                                       IV.     PRAYER

4.1
4.1                   thati
      Plaintiff prays that—

             a.
             a.        Defendants be
                                  be cited to appear and answer;

             b.
             b.        Plaintiff be
                                 be granted judgment for nominal damages,
                                                                 damages, plus general damages
                       in the amount of at least $60,000.00;

             c.
             0.        Plaintiff be
                                 be granted judgment for prejudgment and postjudgment interest
                       at the highest legal or contractual rate allowed by
                                                                        by law;



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           d.
           d.    Plaintiff be
                           be granted judgment for all costs of court; and

           e.
           6.    Plaintiff be
                           be granted all further relief to which Plaintiff may
                                                                            may be entitled.

                                              Respectfully submitted,

                                              /s/ Jason Lee Van Dyke
                                              Jason L. Van Dyke
                                              State Bar No. 24057426
                                              108
                                              108 Durango Drive
                                              Crossroads, TX 76227
                                              P7
                                              P  – (469)
                                                   (469) 964-5346
                                              F 7– (972)
                                                   (972) 421-1830
                                              Email: jason@vandykelawfirm.com




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                             Jason L. Van Dyke
                          Atiorney & Counselor at Law
                     Licensed in Texas, Colorado, Georgia and The Dislricl   ol'Cqmhiu



September 5, 2017

Mockingbird Publishing Co.                        via CMRRR N0. 7016 2710 0000 9323 9190
and Gerard Belle 11                               and First Class US. Mail
2346 Howey Road
Columbus, OH 4321     1




                          NOTICE OF INTENT TO FILE LAWSUIT


Dear Mr. Bello:

        This ﬁrm represents the Dallas/Ft. Worth and Houston chapters of The Proud Boys and
this correspondence constitutes notice of their intent to ﬁle a lawsuit against you for the false and
defamatory article authored by you and published by Mockingbird Publishing Co. a/k/a The
Mockingbird titled “Nee-Nazi Group Targets Residents in South Campus Area”. My ﬁrm will
also be associating with lawyers from Ohio to obtain damages on behalfof Ohio chapters of The
Proud Boys that were libeled by your article. Speciﬁcally, your article contains the following
false and defamatory statements:

       (1) The article falsely states that The Proud Boys are a “Nee-Nazi Group”;

       (2) The article falsely states that members of the Houston chapter were ﬂashing “white
           power” or “nazi” hand signs (the article contains a photograph of members of the
           Houston chapter carrying guns, but not ﬂashing any hand signs reasonably associated
           with “white power” or national socialism);

       (3) The article falsely states that the Ohio Proud Boys placed hand-drawn swastikas into
           mailboxes and mail slots in an attempt at unlawful intimidation;

       (4) The article falsely states that the Ohio Proud Boys were in Houston, when in fact, the
           only chapters providing hum'cane relief in Houston were from the Houston, Dallas/Ft.
           Worth, San Antonio, Austin, and Miami chapters;

       (5) The article falsely states that the fraternity members who undertook an anti-looting
           patrol were performing “ethnic cleansing"; and



                                              I08 Durango Drive
                                             Crossroads, TX 76227
                                               P — (469) 96-6-5346
                                               F — (972) 421-1830
                                         jnsonoﬂvandykela\\1‘|rm.com

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       (6) The article falsely states that The Proud Boys are roaming the nation trying to shoot
           people.

         While I would normally permit a publication such as yours the opportunity to make a
correction and issue a retraction, it’s clear from the context of the article and your willful
disregard for the facts that making such a demand will be fruitless. Accordingly, demand is for
you and Mockingbird Publishing Co. to immediately and permanently remove the offending
article. Second, demand is made for you and Mockingbird Publishing Co. to cease and desist
all ﬁJture false and defamatory articles conceming any chapter ofThc Proud Boys. Finally,
demand is also made to payment in the amount of$]0,000.00 in damages to “The Proud Boys”
as full and ﬁnal settlement of the damages to the reputations of those depicted by your article to
the organization as a whole and its individual members. Please direct your payment to this
ofﬁce.

       You must either comply with all of the demands contained herein within founeen (14)
days of your receipt of this letter, or in the alternative, provide my ofﬁce with a reasonably time
frame by which you will comply. Should you fail to do so, I have been authorized to initiate a
lawsuit against you.




                                                         ‘
                                                                      I
                                                             son L. Van Dyke
                                                        Attorney & Counselor at Law




                                          108 Durnugo Drive
                                         Crossroads, TX 7627.7
                                           P — (469) 964—5346
                                           F — (972) 421-1830
                                       jasoa'nndykclnwﬁrmmum

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                   EXHIBIT “B”




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                                                              THE MOCKWGBIRD
                                                                           .ILL THE NEWS THAT'S FIT TU PROVE
                                                                                                                                                          )1

                       HOME (/)    WHITE NATIONALIST
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                                                                          MOCK‘NGB‘RD W‘TH LAWSU‘T READ OUR RESPONSE
                                                                                                            RESPONSE




                     White Nationalist Lawyer Threatens the Mockingbird with
                     Lawsuit. Read Our Response




                     Author:
                     Autho
                     Gerry
                     Germ Bello (/content/gerry-bello)
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                     Nothing confirms     journalistic integrity and investigative
                              conﬁrmsjournalistic                                  effective fuer-mehr-
                                                                     investigative effectiveness    like push
                                                                                                  Ema”;     sh back and spin. There is no better push
                                                                                                                                                    push back the threat of a
                     frivolous lawsuit. A frivolous lawsuit has no purpose
                                                                       purpose other than to    intimidate,,'and
                                                                                            t Datenschutz-     nd to drain resources when itit is used in
                                                                                                                                                       in an attempt to
                     silence the press. Facing such a     a prospect head
                                                                      head on,
                                                                            on, regardless of 1333879.html)
                                                                                            o the cost in hourglass
                                                                                                                urglass sand and treasure,
                                                                                                                                  treasure, is the proper   thing for aa new
                                                                                                                                                    properthing
                     source
                     source to do.
                                do. It is what is expected of if we are to defend the public trust that is placed in us to find and report the truth.

                     A recent article about neo-nazi activity in
                                                              in the OSU campus
                                                                           camgus area (http://www.mockingbirdpaper.com/content/neo-nazi-group-targets-
                                                                                           (http://www.mockinqbirdpaper.com/contentlneo-nazi-qroup-tarqets-
                     residents-south-campus-area)
                     residents-south-camgus-area1 has given the Mockingbird,
                                                                     Mockingbird, and myself personally,
                                                                                                  personally, a chance
                                                                                                                 chance to earn to that public trust.
                                                                                                                                               trust. The article,
                     concerning the not proud enough to sign their swaztika fliers “Proud
                                                                                       “Proud Boys”,
                                                                                                Boys", elicited our first actual cease and desist letter, which is
                                                                                                                                                                 is
                     included for reader download at the bottom of    this article. Their demands, in
                                                                   ofthis                             in short, are (1)
                                                                                                                    (1) Make the article go away (2)
                                                                                                                                                   (2) Don't write about
                     us again (3)
                               (3) Gimme $10,000. The answer is going to be No.    No. No.
                                                                                       No. And No.

                     Later today, or tomorrow, September 15th,
                                  ortomorrow,                        iflI feel like it,
                                                               151h, if                      following letter will be sent officially as a
                                                                                     it, the following                                   a response. Our dedicated readers
                     should have a chance
                                     chance to enjoy it long before it arrives in   in Texas officially.
                                                                                                 ofﬁcially. Should Mr. Jason L.L. Van Dyke wish to evade service of  ofaa
                     registered letter,
                                letter, this article constitutes
                                                     constitutes the publishing of an open letter in a       a newspaper for him to enjoy. It is clear from his actions that Mr.
                                                                                                                                                 clearfrom
                     Van Dyke monitors this publication
                                                publication as well as any internet address associated with this author, as will also be outlined in        in a
                                                                                                                                                               a letter.

                     For the Enjoyment of the reader and the edification of the Proud
                     Forthe                                                     Proud Boys, the letter begins now:




                     Dear Mr. Jason L.
                                    L. Van Dyke esquire,




                     Through our statutory agent we received your letter
                                                                       letter dated the 5th
                                                                                        51h of September 2017.
                                                                                                           201 7. We have read your objections to our work, and
                     your demands to cease and desist. After that we had a      a long hardy belly laugh. The letter has been shown to attorneys with which we
                     have an ongoing relationship
                                        relationship and specialize in
                                                                    in free speech
                                                                             speech law. They suggested
                                                                                                suggested that II not pay
                                                                                                                      pay them until you
                                                                                                                                     you actually bring suit as they
                     are fully confident II can handle you
                                                       you and this action without much help from them. Just so you  you know, II have a 100%
                                                                                                                                         100% batting
                                                                                                                                               batting average when
                     appearing Pro-Se in federal labor court, State Court in  in Ohio and State Court in Texas as both plaintiff and defendant,
                                                                                                                                      defendant, both civil and
                     criminal.

                     Since you
                            you are alleging
                                     alleging Libel, please do realize that we are familiar with the relevant case law. That would be New YorkYork Times
                                                                                                                                                    Times V.
                                                                                                                                                           V Sullivan
                     and derivative cases under federal, Texas and Ohio law. Since you  you claim to be “associating
                                                                                                         “associating with attorneys in
                                                                                                                                      in Ohio”
                                                                                                                                         Ohio" II can assume that you
                                                                                                                                                                   you
                     are still confused about venue,
                                               venue, and can not decide if you
                                                                             you are going to bring your so-called action inin the Northern District of Texas, the
                     Southern District of Ohio, or the State Courts of either Texas or Ohio. Are youyou shopping based on case law or based
                                                                                                                                          based on judges?

                     Perhaps your threat isis to sue Mockingbird Publishing
                                                                 Publishing and myself   twice, once in
                                                                                 myselftwice,        in State Court in
                                                                                                                    in Texas. It is
                                                                                                                                 is not clear what exactly you
                                                                                                                                                           you
                     intend to do other than silence the free press and collect a
                                                                                a hefty payday.
                                                                                        payday. Neither of those things will ever happen.
                                                                                                                                    happen.

                     One of the your core allegations is that the so-called Proud Boys are not Neo-Nazis.
                                                                                                  Nee-Nazis. What youyou failed to disclose is
                                                                                                                                            is that you
                                                                                                                                                    you are aa “Proud
                                                                                                                                                               “Proud
                     Boy”
                     Boy" yourself,
                          yourself, of the third degree, or at least that you
                                                                          you claim to be so on your Facebook profile.
                                                                                                                 proﬁle. A screenshot of said profile
                                                                                                                                                proﬁle is
                                                                                                                                                       is included

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                     below. Are you
                                you under
                                     under contract with the Proud Boys? Are you  you acting as their in
                                                                                                      in house counsel?
                                                                                                                                                                           13

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                                  an
                                       a.

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                                         man Tram Cm
                                                  Buy-




                    You claim to be representing or finding
                                                      ﬁnding representation for Proud Boys
                                                                                        Boys inin Ohio. Proud Boys, as a a legal entity, as opposed
                                                                                                                                            opposed to an informal
                                                                                                                                                           informal
                    association, do not exist in
                                              in Ohio. Persons claiming
                                                                 claiming membership have committed various acts of low     low grade intimidation here, but they
                    have
                    have not filed any
                                   any paperwork with the Secretary of State's office. You are threatening
                                                                                                   threatening aa lawsuit in
                                                                                                                          in one, possibly two venues for aa client
                    that has no corporate existence in   “association with"
                                                      in “association with” lawyers
                                                                            lawyers you do not care to name. Sir, you are a lawyer demanding monetary
                    damages for articles written in
                                                  in another state where you
                                                                          you are not
                                                                                   not admitted
                                                                                       admitted to the bar on behalf of a  a group of anonymous clients that have
                    no
                    no way of retaining
                               retaining you. For that, you
                                                        you get nothing
                                                                nothing but aa copy of this letter sent to the Texas bar association.
                                                                                                                          association.

                    II can only assume that your basis for any action would be your own personal affiliation with The Dallas Fort
                                                                                                                                Fort Worth Chapter (assuming
                    you
                     you joined the closest one to you).
                                                   you). This personal affiliation
                                                                       afﬁliation of yours is an element of proof that the Proud
                                                                                                                            Proud Boys are in
                                                                                                                                           in fact neo-nazis.
                                                                                                                                                   neo-nazis. You
                    sir, are a nazi. This makes your clients, when they are your close political affiliates, nazis as well.

                    Basic
                     Basic research noted your 2000 arrest and conviction on weapons charges and domestic violence. violence. At that time
                                                                                                                                      time your were in
                                                                                                                                                      in possession
                    aa of the Turner
                              Turner Diaries, a
                                              a neo-nazi semi-fictional
                                                         semi-fictional terrorist manual. You also had a a copy of the Protocols of             oion,
                                                                                                                                  of the Elders of Zion, a
                                                                                                                                                         a classic of
                    anti-Semitic forgery. The former book was written by  by the late William Pierce, the former head of the National Alliance. That man was an
                    unapologetic
                     unapologetic and self-described
                                       self-described Hitlerian. There is
                                                                        is a
                                                                           a direct line from you
                                                                                              you through him
                                                                                                           him to George Lincoln Rockwell,
                                                                                                                                   Rockwell, who actually wore
                    swastika
                     swastika armbands. YouYou were also a member of the Council of Conservative
                                                                                         Conservative Citizens, which isis a known white supremacist organization,
                                                                                                                                                       organization,
                    albeit one lacking the more
                                            more traditional robes and / or  jackboots uniforms.
                                                                          orjackboots

                    How
                    How you came to pass the bar fitness
                                                     ﬁtness exam with aa domestic violence conviction and aa weapons conviction is  is a
                                                                                                                                       a mystery
                                                                                                                                         mystery to me. What is
                                                                                                                                                              is
                    also a mystery is how you can be in in possession of firearms,
                                                                         firearms, much
                                                                                   much less claim to be an instructor with said convictions. Is
                                                                                                                                               Is the ATF aware
                    of your apparent violations of federal firearms
                                                            ﬁrearms law? You appear, on social media,
                                                                                                media, to be in
                                                                                                             in possession of  firearms while under disability.
                                                                                                                             ofﬁrearms

                    II also noted a post regarding
                                          regarding the repeal
                                                          repeal of certain
                                                                    certain firearms laws, on the neo-nazi website Stormfront,
                                                                                                                     Stormfront, byby a profile called WNLaw.
                                                                                                                                                       WNLaw. II
                    assume the WN WN stands forWhite
                                                for White Nationalist as opposed to What Now. This appears to be you. Is    Is this you? Are you
                                                                                                                                               you rambling on about
                    some ill-conceived petition
                                          petition drive so you can legally have guns on a  a neo-nazi   website while claiming that you and your friends are not
                                                                                              neo-nazi website
                    neo-nazis?
                     neo-nazis? Did                     I'm just doing my
                                 Did II get that right? I'm            my due diligence
                                                                                diligence here... since you seem to insist.

                    Your claims in short are without merit. Since this letter
                                                                       letter may
                                                                              may well be evidence some day II will spare the judge and the jury more colorful
                                                                                                                                                      colorful
                    language
                    language describing the deficit
                                             deﬁcit of merit your claims, and you
                                                                               you as a human being, seem to lack.

                    Ilam
                      am going to assume that the letter should be delivered to 108
                                                                                 108 Durrango Drive as it is
                                                                                                          is on your letterhead as your office. That is a
                                                                                                                                                        a lovely
                    home
                     home that doubles as your office.
                                               ofﬁce. I| see that you
                                                                  you and your father teamed up to buy that nice little foreclosure and benefit somehow from
                    the sub-prime mortgage crisis in 2011.
                                                     2011. II guess bottom feeding runs in your family.

                    I| welcome
                       welcome your suit should you
                                                 you be foolish enough to file it.
                                                                                it. Ilam
                                                                                      am prepared,
                                                                                         prepared, and so are aa number of firms who would be  be pleased to
                    represent me against you. Both my my friendship, and your buffoonery,
                                                                                buffoonery, have motivated
                                                                                                   motivated their requests for participation. II personally do not
                    take well to threats. Threatening
                                          Threatening me isis like attempting
                                                                   attempting coitus with aa garbage
                                                                                             garbage disposal.
                                                                                                     disposal. It is
                                                                                                                  is pointless, painful and makes you
                                                                                                                                                    you look more
                    ridiculous on the internet than you already were.
                                                                   were.

                    Should you bring your suit it will be noted that II do have a cause of action against you as well, along with your anonymous
                                                                                                                                       anonymous clients. Your
                    post to my
                             my recent gofundme fundraiserwas
                                                   fundraiser was proximate to so-called “shitposting” by
                                                                                                       by people II can only assume are also Proud Boys in
                    good standing.
                           standing. The one who said he would sooner “slam his dick in a car door while leaving the keys in  in the house”
                                                                                                                                     house" then purchase my
                                                                                                                                                          my
                    latest book was a a real winner.
                                             winner.

                    You, and your neo-nazi associates directly interfered with my
                                                                               my business under  the guise of political opposition. Since your goal was the
                                                                                            underthe
                    shutdown of a press
                                  press organization
                                        organization we will not
                                                             not dignify your conduct with the term “free speech.”
                                                                                                          speech."

                    The threats and the harassment
                                        harassment will cease now. There will be no further contact from you.




                    Good Day Sir,
                             Sir,

                    Gerry Bello

                    Publisher and Editor in Chief

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                                        Association, Colorado State Bar Association,
                                                                        Association, Georgia State Bar Association
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